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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                         Debtor.                          )
                                                          )

        THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED FOR JUNE 14, 2024, AT
                           10:00 A.M. (CST)

          The Official Committee of Unsecured Creditors of Alexander E. Jones (the “Committee”)

appointed in the chapter 11 case of Alexander E. Jones, Case No. 22-33553 (CML), respectfully

files its Witness and Exhibit List for the hearing in the above-captioned chapter 11 case to be held

on June 14, 2024, at 10:00 A.M. (Central Standard Time) and that may be adjourned or continued

from time to time by the Court (the “Hearing”) as follows:

                                           WITNESSES

          The Committee may call the following witnesses at the Hearing:

                 1.     Any witness listed or called by any other party;

                 2.     Rebuttal witnesses as necessary; and

                 3.     The Committee reserves the right to cross-examine any witness called by
                        any other party.

          The Committee does not presently intend to offer testimony from any witness, but it

reserves the right to do so.
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                                            EXHIBITS

        The Committee may offer into evidence one or more of the following exhibits at the

Hearing:

                1.     Any document or pleading filed in the above-captioned case;

                2.     Any exhibit necessary for impeachment and/or rebuttal purposes; and

                3.     Any exhibit identified or offered by any other party.

        The Committee does not presently intend to offer into evidence any exhibits, but it reserves

the right to do so.


                                 RESERVATION OF RIGHTS

        The Committee reserves all rights, including, but not limited to, the right to amend, revise,

or supplement this witness and exhibit list at any time, to designate additional witnesses and

exhibits, to call any person identified as a witness by any other party in interest or introduce any

document identified as an exhibit by any other party in interest, and to offer additional witnesses

and exhibits at the Hearing for purposes of impeachment, rebuttal, in response to witnesses and

evidence offered by any other party, and for any other permissible purpose under the Federal Rules

of Bankruptcy Procedure and the Federal Rules of Evidence.

                       [The remainder of this page intentionally left blank.]




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Dated: June 12, 2024


/s/ Marty L. Brimmage, Jr.
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-and-

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Counsel to the Official Committee of Unsecured Creditors of Alexander E. Jones




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                                CERTIFICATE OF SERVICE

        I certify that on June 12, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                            Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.




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